                Case 14-31182-lkg      Doc 42     Filed 08/03/18    Page 1 of 3



                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re:                          )                   In Proceedings
                                )                   Under Chapter 7
SEAN DAVID ADAMS and            )
KASANDRA JEANETTE ADAMS,        )
                                )                   BK     14-31182
           Debtors,             )
                                )
v.                              )
                                )
U.S. BANK NATIONAL ASSOCIATION, )
AS TRUSTEE FOR SASCO MORTGAGE )
LOAN TRUST 2005-WP4,            )
                                )
and                             )
                                )
ANSELMO LINDBERG & ASSOC., LLC, )
                                )
           Creditors.           )

                MOTION TO WITHDRAW MOTION FOR CONTEMPT
           AND/OR SANCTIONS FOR VIOLATIONS OF DISCHARGE ORDER

         COME NOW the Debtors, Sean and Kasandra Adams, by and through her attorneys, Law

Office of Ronald A. Buch, L.L.C., and for their Motion to Withdraw state as follows:

         1. On June 28, 2018, the Debtors filed a Motion for Contempt and/or Sanctions for

Violation of Discharge Order.

         2. The Debtors request the Motion for Contempt and/or Sanctions for Violation of

Discharge Order be withdrawn with prejudice.

         WHEREFORE the Debtors pray this Court grant their Motion to Withdraw Motion for

Contempt and/or Sanctions for Violation of Discharge Order with prejudice and for such other

relief as the Court deems necessary and proper.
Case 14-31182-lkg   Doc 42   Filed 08/03/18   Page 2 of 3




                        SEAN & KASANDRA ADAMS,

                        By: /s/ Ronald A. Buch
                        Ronald A. Buch #6209955
                        Attorney for Debtors
                        Law Office of Ronald A. Buch, LLC
                        5312 West Main Street
                        Belleville, IL 62226
                        (618) 236-7000
                        belleville@tbcwam.com
                    Case 14-31182-lkg          Doc 42    Filed 08/03/18        Page 3 of 3



                               NOTICE OF ELECTRONIC FILING AND
                                CERTIFICATE OF SERVICE BY MAIL

STATE OF ILLINOIS                          )                        BK       14-31182
                                           )       SS
CITY OF BELLEVILLE                         )                        Chapter       7

            Jennifer Schweiger, being duly sworn, deposes and says:
            Deponent is not a party to the action, is over 18 years of age, and resides in St. Clair County,
Illinois.
            On August 3, 2018, Deponent electronically filed with the Clerk of the U. S. Bankruptcy
Court the Motion to Withdraw Motion for Contempt and/or Sanctions for Violation of
Discharge Order.
            The Deponent served electronically Motion to Withdraw Motion for Contempt and/or
Sanctions for Violation of Discharge Order to the following parties:

U.S. Trustee

Robert E. Eggmann

and served by mail to the following parties:

Anselmo Lindberg & Associates, LLC                       US Bank National Association, as Trustee for
c/o Thomas J. Anselmo, Reg. Agent & LLC Mgr.             SASCO Mortgage Loan Trust 2005-WP4
1771 W. Diehl Rd., Ste. 120                              c/o Andrew J. Cecere, President
Naperville, IL 60563                                     425 Walnut St.
                                                         Cincinnati, OH 45202
Anselmo Lindberg & Associates, LLC
c/o Steven C. Lindberg, LLC Mgr.
1771 W. Diehl Rd., Ste. 120

by depositing a true copy of same, enclosed in a postage paid properly addressed wrapper, in a
Belleville City Branch, official depository under the exclusive care and custody of the United States
Postal Service, within the State of Illinois.
                                                            By: /s/ Jennifer Schweiger
